
935 N.E.2d 516 (2010)
237 Ill.2d 580
PEOPLE State of Illinois, respondent,
v.
Sidney PERRY, petitioner.
No. 109605.
Supreme Court of Illinois.
September 29, 2010.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its judgment in People v. Perry, case No. 1-07-3239 (11/06/09). The appellate court is directed to reconsider its judgment in light of People v. Petrenko, 237 Ill.2d 490, 342 Ill.Dec. 15, 931 N.E.2d 1198 (2010), to determine if a different result is warranted.
